  Case:16-01035-SDB Doc#:132-1 Filed:10/15/18 Entered:10/15/18 15:10:28                           Page:1 of 2




                        UNITED STATES BANKRUPTCY COURT
                                       Southern District of Georgia

In the matter of:

Science Fitness, LLC
Chapter 7 Case No. 14−12297−SDB
       Debtor(s)

Evans Plaza Partners, LLC
       Plaintiff(s)
                                                      Adversary Proceeding
vs.                                                   No. 16−01035−SDB
Joy Webster, Chapter 7 Trustee
Evans Fitness Club Express, LLC
       Defendant(s)




                                                  ORDER


           Notice was issued on October 15, 2018, advising parties that they have 30 days to take

possession of exhibits filed in the captioned case.

           No response having been filed in opposition, the clerk is authorized to destroy or otherwise

dispose of any exhibits which the filing party failed to claim in accordance with the notice of

October 15, 2018.
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